
HUMPHREYS, Judge.
This matter comes before the Court on a rehearing en banc from a panel decision rendered October 22, 2002. See Hardesty v. Hardesty, 39 Va.App. 102, 570 S.E.2d 878 (2002). The panel affirmed a judgment of the trial court declaring that, pursuant to the parties’ final decree of divorce, Samuel Hardesty’s obligation to pay spousal support to his former wife, Francesca Hardesty, must terminate upon her remarriage. *665By order dated November 26, 2002, we granted wife’s petition for a rehearing en banc, stayed the mandate of that decision, and reinstated the appeal. Upon rehearing en banc, we affirm the judgment of the trial court.
I. Background
Husband and wife were married in 1990 and separated in 1999. No children were born of the marriage. In 1999, wife filed a bill of complaint seeking a divorce on the grounds of adultery, cruelty and separation. Husband filed a cross-bill seeking a divorce on the grounds of separation.
The parties participated in mediation on January 13, 2000, and entered into a written property settlement agreement (PSA) as a result. The PSA provided for the division of the parties’ assets. The PSA also provided the following as to spousal support, in relevant part:
15. Spousal Support. Husband and Wife agree that Husband has an obligation to pay Wife spousal support as follows:
a. Beginning February 1, 2000 and continuing through to and including the final payment on January 1, 2007, Husband shall pay $5,000.00 per month.
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d. This support cannot be terminated for any reason.
In addition, the PSA provided as follows, in pertinent part, concerning the parties’ tax obligations:
13. Tax Consequences.
sj: :ji ij:
c. Husband shall fund an escrow account with $300,000.00 [$150,000.00 of this shall be considered Wife’s funds] on or before May 15, 2000 ... to be held in an interest bearing account. These funds shall be held for payment of the taxes, penalties, interest, and fines, for Hardesty Construction, Inc. and American Gutter through 1998. If any monies are left over after all taxes, penalties, interest, and fines are paid in full, the balance shall be equally distributed to each *666party.... If taxes, penalties, interest, and fines are owed after the depletion of all monies for payment of the taxes, penalties, interest and fines, personal, Hardesty Construction, Inc. and American Gutter through 1998, then each party shall be equally liable for the balance. Upon depletion of the escrow balance, Husband shall immediately pay the entire balance for any taxes, penalties, interest, and fines owed within six [6] months, time being of the essence. Thereafter, he may deduct [right of set off] Wife’s half from the spousal support by shortening support by the number of months necessary to repay the amount to Husband. For example, if $10,000.00 is owed after the escrow is depleted, Husband shall pay said amount in full and shorten support by one month [$5,000.00] at the end of the support period____
Finally, the PSA provided that it would be “affirm[ed], ratified] and incorporate^],” but not “merge[d],” into the final divorce decree.
Prior to the court’s entry of the final decree, wife filed a separate action with the trial court in July of 2001, seeking a declaratory judgment holding the PSA precluded the termination of spousal support upon her remarriage. Husband demurred to the declaratory judgment action contending that the language contained in the PSA was insufficient as a matter of law to bar termination of spousal support upon remarriage. By order entered July 20, 2001, the action was consolidated with the parties’ pending divorce action.
After reviewing supporting memoranda filed by the parties and a hearing ore tenus, the trial court advised counsel as follows:
After considering the authorities, I have decided to sustain the demurrer or motion to suppress of the defendant. The Court finds that, under applicable case law, it is required, in order of [sic] the spousal support to survive remarriage, that the property settlement explicitly state that it will survive remarriage. *667And I will note [wife’s] exception but will hold that spousal support will terminate upon the remarriage of [wife].
The trial court incorporated its finding in this regard into the final decree of divorce, entered February 4, 2002, stating:
[T]he Court treats the demurrer as a dispositive motion and enters the following declaratory judgment:
[I]f the plaintiff remarries the defendant is relieved from any further obligation to pay spousal support to the Plaintiff. The [PSA] does not contain “express language either citing the statute [Va.Code § 20-109] or expressly stating that remarriage does not terminate the obligation” as required by Virginia law. MacNelly v. MacNelly, 17 Va.App. 427, 430, 437 S.E.2d 582, 584 (1993) and Langley v. Johnson, 27 Va.App. 365, 499 S.E.2d 15 (1998). Accordingly, declaratory judgment in favor of the defendant is entered as set forth herein.
Wife appeals only this portion of the trial court’s ruling.
II. Analysis
Code § 20-109(D) provides that “[u]nless otherwise provided by stipulation or contract, spousal support and maintenance shall terminate upon the death of either party or remarriage of the spouse receiving support.” Code § 20-109, We have held that the “ ‘language [of Code § 20-109] contemplates an expressed, not implied, provision that support shall not terminate upon death or remarriage. By resolving ambiguity, Code § 20-109 reduces litigation. To permit its mandate to be overcome by implication would introduce ambiguity, encourage litigation and, thereby, undermine the statute’s purpose----’ ” MacNelly, 17 Va.App. at 429-30, 437 S.E.2d at 584 (quoting Radford v. Radford, 16 Va.App. 812, 813, 433 S.E.2d 35, 36 (1993)).
We have further held that “in order to accomplish the stated objective of the statute to resolve ambiguity and thereby reduce litigation, any attempt to abrogate the effect of the statute requires express language either citing the statute or expressly stating that remarriage does not terminate the *668obligation.” Id. at 430, 437 S.E.2d at 584. “ ‘The public policy clearly declared by Code §§ 20-109 and 20-109.1 is that spousal support does not survive the recipient’s remarriage. To create an exception to that policy, the agreement must be equally clear.’ ” Langley, 27 Va.App. at 371-72, 499 S.E.2d at 18 (quoting Miller v. Hawkins, 14 Va.App. 192, 195-97, 415 S.E.2d 861, 863-64 (1992)).
In Gayler v. Gayler, 20 Va.App. 83, 85, 455 S.E.2d 278, 279 (1995), the agreement provided that “the payments [of spousal support] ... shall terminate upon the Wife’s remarriage or death.” However, the agreement was later modified by an addendum stating that “the payments ... shall terminate only upon the Wife’s death.” 20 Va.App. at 85, 455 S.E.2d at 279. There, we held “that the addendum’s excision of the reference to remarriage and the addition of the word ‘only' evince[d] the parties’ intent that spousal support would survive wife’s remarriage.” Id. at 86, 455 S.E.2d at 280. Nevertheless, in a footnote to that holding, we made an important distinction, stating:
The use of the term “only” by the parties is alone not determinative of the issue. Absent the reference to the effect of remarriage in the original agreement, the language of the addendum standing alone would not be sufficient to evince an intent of the parties to avoid the operation of Code §§ 20-109 and 20-109.1.
Id. at 86 n. 2, 455 S.E.2d at 280 n. 2; see also Langley, 27 Va.App. at 373-74, 499 S.E.2d at 19.1
*669In the agreement that we review in this appeal, the terms provide that spousal support “cannot be terminated for any reason.” However, no language in any part of the PSA explicitly evinces the parties’ intent to avoid operation of the statute as to remarriage. Indeed, the language of the parties’ agreement is very similar to “the language of the [Gayler ] addendum [which] standing alone[,] would not be sufficient to evince an intent of the parties to avoid the operation of Code §§ 20-109 and 20-109.1.” Gayler, 20 Va.App. at 86 n. 2, 455 S.E.2d at 280 n. 2.
Moreover, we find it significant that since our decisions in Radford and Gayler, and before the proceedings in the instant case, the legislature has met several times, amending Code § 20-109 on two of those occasions; yet, it has given no indication of a desire to change our long-standing interpretation of the statute, requiring precise and express language to overcome the operation of Code § 20-109(D). See 1998 Acts, ch. 604; 2001 Acts, chs. 725 and 740. “ ‘[W]here the General Assembly acts in an area in which this Court has already spoken, it is presumed to know the law as the Court has stated it and to acquiesce therein.’ ” McFadden v. Commonwealth, 3 Va.App. 226, 230, 348 S.E.2d 847, 849 (1986) (quoting Burns v. Board of Supervisors, 227 Va. 354, 360, 315 S.E.2d 856, 860 (1984)); see also Christensen v. Christensen, 26 Va.App. 651, 656, 496 S.E.2d 132, 134 (1998).
Thus, although on its" face the language of the PSA seems to clearly reflect the intent of the parties, we reiterate our stated rationale in Radford, that the statutory “language contemplates an expressed, not implied, provision that support shall not terminate upon death or remarriage” and that “[t]o permit its mandate to be overcome by implication would introduce *670ambiguity, encourage litigation and, thereby, undermine the statute’s purpose.” 16 Va.App. at 813, 433 S.E.2d at 36.2 Accordingly, the judgment of the trial court is affirmed.

Affirmed.


. Judge Annunziata's dissent argues that this footnoted language in Gayler is mere dicta. However, it is clear that the footnoted language was not dicta, but was central to the ratio decidendi of the opinion. See Black's Law Dictionary 1262 (6th ed.1990) (defining ratio decidendi as "the ground or reason of decision”). Indeed, in reaching its determination, the court in Gayler specifically held "that the addendum’s excision of the reference to remarriage and the addition of the word ‘only,’ sufficiently evinced the “parties' intent that spousal support would survive wife’s remarriage.” Gayler, 20 Va.App. at 86, 455 S.E.2d at 280. The footnote reinforces the importance of both elements — the addendum's excision of the reference to remarriage and the word "only” — to its holding. Therefore, the language was clearly crucial to *669the court’s resolution of the dispute in that case, and thus provides us with distinct precedent to guide our decision in this case. See Langley, 27 Va.App. at 373-74, 499 S.E.2d at 19 (noting that “Gayler turned on the fact that the addendum's alteration of the original support provisions was a 'critical change in the original agreement,’ which necessarily evinced in a clear and express fashion the parties’ intent that the support would continue after remarriage”).


. Judge Kelsey’s dissent is founded upon the proposition that our "extrapolation[sj” in Gayler and MacNelly take "too far” "our construction of the statute.” And, although precedential, the decisions are based upon “unsettled” "piling[sj [of] dicta upon dicta." As set forth above, we differ with this conclusion. While he is quite correct that we clearly have the authority to overrule long-standing precedent, whether it originates from a panel of this Court or the full Court sitting en banc, his dissent omits any recognition that we do so rarely, and certainly not lightly. The precedential value of our opinions to this Court, the lower courts and members of the bar, is well settled. The courts of this Commonwealth have long acknowledged that ”[i]n Virginia, the doctrine of stare decisis is more than a mere cliché,” and is not to be taken lightly. Selected Risks Ins. Co. v. Dean, 233 Va. 260, 265, 355 S.E.2d 579, 581 (1987). The "doctrine plays a significant role in the orderly administration of justice by assuring consistent, predictable, and balanced application of legal principles.” Id.
Moreover, [this] "respect for precedent helps promote public confidence in the law.” [Note, Constitutional Stare Decisis, 103 Harv. L.Rev. 1344, 1349 (1990).] If an appellate court does not respect its own precedent, then the public, the bench, and the bar are less likely to have confidence in the decisions that are made. Furthermore, employing the doctrine of stare decisis assures the public that an appellate court’s judgments are not arbitrary and that the court is controlled by precedent that is binding without regard to the personal views of its members.
Newman v. Erie Insurance Exchange, 256 Va. 501, 510, 507 S.E.2d 348, 353 (1998) (Compton, J., joined by Carrico, C.J., dissenting). In keeping with the principles articulated immediately above, we recognize that our existing precedent on this issue has provided a longstanding "bright line rule” for the bar and the public, which ought not lightly be cast aside.

